                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
   :::::::::::::::::::::::::::::::::::::::::::::::::::::::
   IN RE:                                                : CHAPTER 7
                                                         :
   MIRIAM L. CHAMPY,                                     : CASE NO. 5-19-04802-RNO
                                                         :
                              DEBTOR.                    :
   :::::::::::::::::::::::::::::::::::::::::::::::::::::::

                    PRAECIPE TO WITHDRAW TRUSTEE’S ANSWER
                   TO MOTION FOR RELIEF FROM AUTOMATIC STAY


   To the Clerk:

          Kindly withdraw the Trustee’s Answer to Motion for Relief From Automatic

   Stay filed in the above-captioned action on December 24, 2019, (Dkt. No. 13).

   Movant’s counsel, Kevin Buttery, Esquire, consents to said withdrawal.


                                       LAW OFFICES OF MARK J. CONWAY, P.C



                                       /s/ Mark J. Conway
                                       Mark J. Conway, Trustee
                                       502 S. Blakely Street
                                       Dunmore, PA 18512
                                       Phone (570) 343-5350
                                       Fax (570) 343-5377
                                       Counsel for Chapter 7 Trustee

   DATED: January 15, 2020




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                                                         :
                              DEBTOR.                    :
   :::::::::::::::::::::::::::::::::::::::::::::::::::::::

                              CERTIFICATE OF SERVICE

          I, Constance Norvilas, Paralegal hereby certify that I have caused to be

   served this 15th day of January, 2020, a true and correct copy of the Praecipe to

   Withdraw Trustee’s Answer to Motion for Relief From Automatic Stay using the

   CM/ECF system which sent notification of such filing to the following Filing Users

   at the following e-mail addressed:

                                      U.S. Trustee
                                     Dept. of Justice
                                    228 Walnut Street
                                       Suite 1190
                               Harrisburg, PA 17101-1722
                             ustpregion03.ha.ecf@usdoj.gov

                                  Kevin Buttery, Esquire
                                    RAS Citron, LLC
                          130 Clinton Road, Lobby B, Suite 202
                                   Fairfield, NJ 07004
                                 kbuttery@rascrane.com


                                        LAW OFFICES OF MARK J. CONWAY, P.C.

                                        /s/ Constance Norvilas
                                        Constance Norvilas, Paralegal
                                        502 South Blakely Street
                                        Dunmore, PA 18512
                                        Telephone (570) 343-5350
                                        Facsimile (570) 343-5377




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